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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

 IN RE:                                                            CASE NO. 19-59740-wlh

 KEIDRA AIESHA ALI-GADSON,                                         CHAPTER 13

                Debtor.

                       MOTION TO SELL PROPERTY OF THE ESTATE


       COME NOW the Debtors in the above-styled Chapter 13 case, and through counsel, files

this "Motion to Sell Property of the Estate", showing to this Honorable Court the following:

                                                 1.

       This Court has jurisdiction in this matter pursuant to 28 U.S.C. Sections 1334, 151 and 157.

                                                 2.

       This Court is the proper venue for this matter pursuant to 28 U.S.C. Section 1409.

                                                 3.
       This matter is a core proceeding as defined in 28 U.S.C. Section 157(b)(2)(N).

                                                 4.

       The Debtors filed the petition for relief in the above-styled Chapter 13 case on

June 24, 2019. The meeting of creditors was scheduled and held on for July 29, 2019. The case

was confirmed on February 5, 2020 with a 0% dividend to unsecured creditors.

                                                 5.

       As stated in the Chapter 13 schedules, the Debtor has an interest in property located at 1691

Tree Line Road, Lithonia, Georgia 30058, Dekalb County, with an obligation thereon to Wells

Fargo Bank, N.A. in the approximate amount of $82,114.73. The property is also subject to an

obligation thereon to the U.S. Department of Housing and Urban Development in the approximate

amount of $9,760.60.

                                                 6.

       The property is owned by the Debtor.
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                                                    7.

           The Debtors has received a contract for the purchase of the real property. The purchase

price of the property is one hundred and ten thousand dollars ($110,000.00). The purchaser,

Prestige Home Investments, LLC, is neither an insider nor relative of the Debtors. The Debtor

believes that the purchase price represents the fair market value of the property. A copy of the

purchase and sale agreement is attached hereto and incorporated herein as Exhibit “A.”

                                                    8.

           The proceeds of the sale are to be applied at closing to satisfy the costs of the sale as

determined by the closing attorney pursuant to commonly accepted real estate standards and

practices under Georgia law. The Debtor will retain any proceeds from the funds available to the

Debtor after the sale, to purchase a new vehicle as hers no longer runs.

                                                    9.

        Debtors believe that this sale is in the best interest of the estate and creditors and that such

sale will assist in the effectuation of the Debtors’ financial reorganization.

   WHEREFORE, Debtor prays:

        (a) that this Motion be filed, read and considered;

        (b) that this Motion be granted; and,

        (c) that this Honorable Court grant such other and further relief as it deems just and proper.

                                                 Respectfully submitted,
                                                 /s/
                                                 Jason B. Lutz, GA Bar No. 670673
                                                 Attorney for Debtors
Clark & Washington, PC
3300 Northeast Expwy Bldg 3
Atlanta, GA 30341
Phone: 404-522-2222
Fax: 770-220-0685
Email: ecfnotices@cw13.com
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

 IN RE:                                                         CASE NO. 19-59740-wlh

 KEIDRA AIESHA ALI-GADSON,                                      CHAPTER 13

                Debtor.

    NOTICE OF HEARING ON MOTION TO SELL PROPERTY OF THE ESTATE

        PLEASE TAKE NOTICE that the above-referenced Debtors filed a Motion seeking to
Sell Property of the Estate.

       PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the matter
in Courtroom 1403 of the United States Bankruptcy Court, 75 Ted Turner Drive, SW, Atlanta,
GA, 30303, at 10:20AM, on September 23, 2020.

        Your rights may be affected by the court’s ruling on these pleadings. You should read
these pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy
case. (If you do not have an attorney, you may wish to consult one.) If you do not want the
Court to grant the relief sought in these pleadings or if you want the Court to consider your
views, then you and/or your attorney must attend the hearing. You may also file a written
response to the pleading with the Clerk at the address stated below, but you are not required to
do so. If you file a written response, you must attach a certificate stating when, how and on
whom (including addresses) you served the response. Mail or deliver your response so that it is
received by the Clerk at least two business days before the hearing. The address of the Clerk's
Office is Clerk, United States Bankruptcy Court, Room 1340, 75 Ted Turner Drive, SW, Atlanta,
GA, 30303. You must also mail a copy of your response to the undersigned at the address stated
below.

                                            Respectfully submitted,
                                            /s/
                                            Jason B. Lutz, GA Bar No. 670673
                                            Attorney for Debtors
Clark & Washington, PC
3300 Northeast Expwy Bldg 3
Atlanta, GA 30341
Phone: 404-522-2222
Fax: 770-220-0685
Email: ecfnotices@cw13.com
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                                  CERTIFICATE OF SERVICE

       I, the undersigned, certify that I am over the age of 18 and that on this date I served a
copy of the foregoing Motion to Sell Property of the Estate and Notice of Hearing on Motion to
Sell Property of the Estate by first class U.S. Mail, with adequate postage prepaid on the
following persons or entities at the addresses stated:


 Keidra Aiesha Ali-Gadson
 1691 Tree Line Rd
 Lithonia GA 30058


       And, in the same manner, I served the parties listed in the attached matrix by mailing
copies of the foregoing Motion and Notice to the addresses indicated therein.


       I further certify that, by agreement of the parties, the Standing Chapter 13 Trustee,
Melissa J. Davey, was served via the CM/ECF electronic mail/noticing system.


                                              Dated: 08/25/20
                                              Respectfully submitted,
                                              /s/
                                              Jason B. Lutz, GA Bar No. 670673
                                              Attorney for Debtors

Clark & Washington, PC
3300 Northeast Expwy Bldg 3
Atlanta, GA 30341
Phone: 404-522-2222
Fax: 770-220-0685
Email: ecfnotices@cw13.com
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Label Matrix for local noticing                     Keidra Aiesha Ali-Gadson
                                                       Document           Page 17 of 18                  E. L. Clark
113E-1                                              1691 Tree Line Rd                                    Clark & Washington, LLC
Case 19-59740-wlh                                   Lithonia, GA 30058-5675                              Bldg. 3
Northern District of Georgia                                                                             3300 Northeast Expwy.
Atlanta                                                                                                  Atlanta, GA 30341-3932
Mon Aug 24 10:12:06 EDT 2020
Crown Realty & Manag                                Directv, LLC                                         Abbey Ulsh Dreher
1702 Macy Dr                                        by American InfoSource as agent                      Barrett Daffin Frappier Turner Engel LLP
Roswell, GA 30076-6348                              4515 N Santa Fe Ave                                  Suite 100
                                                    Oklahoma City, OK 73118-7901                         4004 Belt Line Road
                                                                                                         Addison, TX 75001-4320

(p)GEORGIA DEPARTMENT OF REVENUE                    IRS                                                  LaVerne Donaldson
COMPLIANCE DIVISION                                 401 W. Peachtree St., NW                             1691 TREELINE RD
ARCS BANKRUPTCY                                     Stop #334-D                                          Lithonia, GA 30058-5675
1800 CENTURY BLVD NE SUITE 9100                     Room 400
ATLANTA GA 30345-3202                               Atlanta, GA 30308

Santander Consumer USA                              Santander Consumer USA Inc.                          Source Receivables Mgmt, Llc
Attn: Bankruptcy                                    Reg. Agent: C T Corporation System                   Attn: Bankruptcy Dept
Po Box 961245                                       289 S Culver Street                                  4615 Dundas Dr., Suite 102
Fort Worth, TX 76161-0244                           Lawrenceville, GA 30046-4805                         Greensboro, NC 27407-1761


(p)SPRINT NEXTEL CORRESPONDENCE                     T Mobile/T-Mobile USA Inc                            (p)US DEPARTMENT OF HOUSING AND URBAN DEVELOP
ATTN BANKRUPTCY DEPT                                by American InfoSource as agent                      ATTN ROBERT ZAYAC
PO BOX 7949                                         4515 N Santa Fe Ave                                  40 MARIETTA ST SUITE 300
OVERLAND PARK KS 66207-0949                         Oklahoma City, OK 73118-7901                         ATLANTA GA 30303-2812


United States Attorney                              WESTLAKE FINANCIAL SERVICES                          Wells Fargo Bank, N.A.
Northern District of Georgia                        4751 WILSHIRE BLVD                                   DFLT Doc Processing N9286-01Y
75 Ted Turner Drive SW, Suite 600                   SUITE 100                                            1000 Blue Gentian Road
Atlanta GA 30303-3309                               LOS ANGELES CA 90010-3847                            Eagan, MN 55121-7700


Wells Fargo Bank, N.A.                              Wells Fargo Dealer Services                          Wells Fargo Home Mortgage
Timothy J. Sloan, CEO                               Attn: Bankruptcy                                     Attn: Bankruptcy Dept
101 N. Phillips Avenue                              Po Box 19657                                         P.O. Box 10335
Sioux Falls, SD 57104-6714                          Irvine, CA 92623-9657                                Des Moines, IA 50306-0335


Westlake Financial Services                         Nancy J. Whaley
Attn: Bankruptcy                                    Nancy J. Whaley, Standing Ch. 13 Trustee
Po Box 76809                                        303 Peachtree Center Avenue
Los Angeles, CA 90076-0809                          Suite 120, Suntrust Garden Plaza
                                                    Atlanta, GA 30303-1216



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Georgia Department of Revenue                       Sprint Corp                                          U.S. Department of Housing & Urban
Compliance Division                                 Attention Bankruptcy                                 Development
ARCS Bankruptcy                                     PO Box 7949                                          451 Seventh St SW
1800 Century BLVD NE Suite 9100                     Overland Park, KS 66207-0949                         Washington, DC 20410
Atlanta, GA 30345-3202
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(d)U.S. Department of Housing and Urban Devel            Document      Page 18 of 18
451 7th Street S.W.
Washington, DC 20410




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Wells Fargo Bank, N.A.                           End of Label Matrix
                                                    Mailable recipients    22
                                                    Bypassed recipients     1
                                                    Total                  23
